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                                       Certificate Number: 15317-TXS-DE-037484776
                                       Bankruptcy Case Number: 23-30659


                                                      15317-TXS-DE-037484776




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on June 5, 2023, at 10:54 o'clock AM PDT, Dennis L Thomas
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Southern District of Texas.




Date:   June 5, 2023                   By:      /s/Junie Montebon


                                       Name: Junie Montebon


                                       Title:   Credit Counselor
